Case 1:22-cv-00866-HYJ-RSK   ECF No. 54-3, PageID.1821   Filed 07/24/23   Page 1
                                     of 3




             EXHIBIT A
         Case 1:22-cv-00866-HYJ-RSK             ECF No. 54-3, PageID.1822             Filed 07/24/23       Page 2
                                                        of 3

Korman, Hilary

From:                 Frank Hedin <fhedin@hedinhall.com>
Sent:                 Friday, July 21, 2023 4:52 PM
To:                   Korman, Hilary
Cc:                   Phil Fraietta; Brown, Harrison M.; Tagvoryan, Ana; epm@millerlawpc.com; gam@millerlawpc.com;
                      jmarchese@bursor.com; ssa@millerlawpc.com
Subject:              Re: Gottsleben v. Informa Media, Inc.. Case No. 1:22-CV-866


Yes, that’s fine, so long as your client also agrees to produce by Monday the agriculture file with the names/addresses
(and any other available data) for each record, with all names redacted except for the plaintiff’s, as we have previously
agreed to.

Frank



From: Korman, Hilary <Hilary.Korman@BlankRome.com>
Date: Friday, July 21, 2023 at 4:44 PM
To: Frank Hedin <fhedin@hedinhall.com>
Cc: Phil Fraietta <pfraietta@bursor.com>, Brown, Harrison M. <harrison.brown@blankrome.com>, Tagvoryan,
Ana <ana.tagvoryan@blankrome.com>, epm@millerlawpc.com <epm@millerlawpc.com>,
gam@millerlawpc.com <gam@millerlawpc.com>, jmarchese@bursor.com <jmarchese@bursor.com>,
ssa@millerlawpc.com <ssa@millerlawpc.com>
Subject: Re: Gottsleben v. Informa Media, Inc.. Case No. 1:22-CV-866

Hi Frank, all,

Can you confirm that Informa may file its answer on Monday?

Thanks,

Hilary


          On Jul 20, 2023, at 9:20 PM, Frank Hedin <fhedin@hedinhall.com> wrote:


          Why have you omitted the name field from the agriculture file?

          Frank S. Hedin
          Hedin Hall LLP
          1395 Brickell Avenue, Suite 1140
          Miami, Florida 33131
          (305) 357-2107
          http://www.hedinhall.com


                 On Jul 20, 2023, at 8:17 PM, Korman, Hilary <Hilary.Korman@blankrome.com> wrote:

                                                             1
Case 1:22-cv-00866-HYJ-RSK            ECF No. 54-3, PageID.1823             Filed 07/24/23     Page 3
                                              of 3

      See attached.


      Hilary F. Korman | BLANKROME
      1271 Avenue of the Americas | New York, NY 10020
      O: 212.885.5436 | M: 201.783.7076 | F: 917.332.3854 | hilary.korman@blankrome.com


      From: Korman, Hilary
      Sent: Thursday, July 20, 2023 6:03 PM
      To: 'Phil Fraietta' <pfraietta@bursor.com>
      Cc: Brown, Harrison M. <harrison.brown@blankrome.com>; 'Frank Hedin'
      <fhedin@hedinhall.com>; Tagvoryan, Ana <ana.tagvoryan@blankrome.com>;
      'epm@millerlawpc.com' <epm@millerlawpc.com>; 'gam@millerlawpc.com'
      <gam@millerlawpc.com>; 'jmarchese@bursor.com' <jmarchese@bursor.com>;
      'ssa@millerlawpc.com' <ssa@millerlawpc.com>
      Subject: RE: Gottsleben v. Informa Media, Inc.. Case No. 1:22-CV-866

      Counsel,

      Enclosed is the following:

          •     IT Pro Windows Secret subscriber spreadsheet (with a key tab);
          •     Aviation subscriber spreadsheet (with a data dictionary tab; the password is
                AWNaudit2016mi);
          •     Agriculture subscriber spreadsheet (with separate key); and
          •     Nation’s Restaurant News.

      Have you received any additional subpoena responses?

      Thanks,


      Hilary F. Korman | BLANKROME
      1271 Avenue of the Americas | New York, NY 10020
      O: 212.885.5436 | M: 201.783.7076 | F: 917.332.3854 | hilary.korman@blankrome.com


      From: Korman, Hilary
      Sent: Wednesday, July 12, 2023 7:24 PM
      To: Phil Fraietta <pfraietta@bursor.com>
      Cc: Brown, Harrison M. <harrison.brown@blankrome.com>; Frank Hedin
      <fhedin@hedinhall.com>; Tagvoryan, Ana <ana.tagvoryan@blankrome.com>;
      epm@millerlawpc.com; gam@millerlawpc.com; jmarchese@bursor.com;
      ssa@millerlawpc.com
      Subject: RE: Gottsleben v. Informa Media, Inc.. Case No. 1:22-CV-866

      Counsel,

      As discussed, abbreviation keys for the Aviation, Agriculture, and Nation’s Restaurant
      News subscriber count spreadsheets are attached. The key for the IT Pro Windows
                                                   2
